_Document #: 90 Filed: 10/22/07 Page 1 of 1 Page|D #:280

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United States District Court

Northern District of Illinois
Eastern l)ivision

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Rene Guerrero et al JUDGMENT IN A CIVIL CASE
v. Case Number: 07 C 1015
Jerome Finnigan et al
ll .luryi \/erdict, This action came before the Court for a trial by j ury. The issues have been
tried and the jury rendered its verdict.

13 l)eeision by Court. This action came to trial or hearing bel`Ore the Court. rl`hc issues
have been tried or heard and a decision has been rendered

ll lS llEREBY ORDEREI) AND ADJUDGED that all claims are dismissed \vith prejudicel
All matters in controversy having been resolved final judgment ofdismissal with prejudice is
hereby entered

l\/Iichael W. Dobbins, Clerk of"Court

l)ate: l()/.'Z?./’?.UU'/' /s/ Stenhen C`. "l`okor)h
Deputy Clerk

